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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                 TRENTON VICINAGE

RONALD MOORE, et al.,                     :
                                          :
      Plaintiffs,                         :
                                          :
v.                                        :                Case No. 3:21-cv-15421-ZNQ-TJB
                                          :
JUMPING BROOK ENTERPRISES,                :
                                          :
      Defendant.                          :
_________________________________________ :


                   STIPULATION OF DISMISSAL WITH PREJUDICE

        It is hereby stipulated and agreed by and between the Plaintiffs, and the Defendant,
pursuant to the Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that the above-captioned action
be dismissed with prejudice, a resolution of all matters in dispute having been made pursuant to a
settlement agreement executed between the parties.


Respectfully Submitted,
  /s/ Jon G. Shadinger Jr.
 __________________________                          /s/ Peter J. Broege
                                                     ___________________________
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 Attorney for Plaintiffs                             Attorneys for Defendant


       08/09/2022
Dated: ______________

                                             SO ORDERED:
                                             s/ Zahid N. Quraishi, U.S.D.J.
                                             Dated: 8/10/2022
